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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                      DELTA DIVISION

KENNETH WRINKLE, JR.                                                PLAINTIFF
#092510

v.                        No. 2:22-cv-2-DPM

DOE and
ARKANSAS COUNTY DEN CENTER                                         DEFENDANT

                                  ORDER

     The Court adopts        Magistrate Judge Harris's               unopposed
recommendation, Doc. 9.   FED.   R. Crv. P. 72(b) (1983 addition to advisory
committee notes).    Wrinkle's amended complaint, Doc. 8, will be
dismissed without prejudice for failure to state a claim upon which
relief may be granted. The Court recommends that this dismissal count
as a "strike" for purposes of 28 U.S.C. § 1915(g). An in forma pauperis
appeal from this Order and accompanying Judgment would not be
taken in good faith. 28 U.S.C. § 1915(a)(3).
     So Ordered.



                                                          (I
                                   D.P. Marshall Jr.
                                   United States District Judge
                                        3J /Vt~y ;).();).').....
                                                 J
